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UNITED STATES DISTRICT COURT
SOUT HE RN DISTRICT OF NEW YORK
---------------------------- - -------x
UNITED STATES OF AMERICA

              - v. -                            INDICTMENT

ADAM JUSTIN BANFILL ,




                                  COUNT ONE

                  (Threatening Interstate Communications)

     The Grand Jury charges :

     1.      From at least on or about June 8 , 2020, through in or

about June 24, 2021 , in the Southern District of New York and

elsewhere , ADAM JUSTIN BANFILL, the defendant , knowingly

transmitted in interstate and foreign commerce communications

containing threats to injure the person of another, to wit ,

BANFILL sent to a cable news contributor (the "Br oadcaster " ) a

series of violent , threatening, harassing, and intimidating

messages-including messages in which BANFILL threatened to kill

the Broadcaster and the Broadcaster's relative-via the "Contact"

form portal on the Broadcaster's website .


      (T itle 18 , United States Code, Sections 875(c) and 2 . )




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                                  COUNT TWO

                                  (Stalking)

     The Grand Jury further charges :

     2.      From at least in or about June 8 , 2020 through in or

about the June 24 , 2021 , in the Southern District of New York

and elsewhere , ADAM JUSTIN BANFILL , the defendant, knowingly and

with the intent to kill , injure , harass , intimidate , and place

under surveillance with intent to kill , injure , harass , and

intimidate another person, used the mail , interactive computer

services and electronic communication services and electronic

communication systems of interstate commerce , and other

facilities of interstate and foreign commerce to engage in a

course of conduct that       (a) placed that person in reasonable fear

of the death of and serious bodily injury to that person , and

(b) caused , attempted to cause , and would be reasonably expected

to cause substantial emotional distress to that person, to wit,

BANFILL sent to the Broadcaster a series of violent ,

threatening , harassing , and intimidating messages-including

messages in which BANFILL threatened to kill the Broadcaster and

the Broadcaster ' s relative-via the "Contact" form portal on the

Broadcaster ' s website .

          (Title 18 , United States Code , Sections 2261A(2) (A) and
                             2 2 6 lA ( 2) ( B) , and 2 . )




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~ON                                AUDREY STRAUSS
                                   United States Attorney




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              UNITED STATES DISTRICT
                                OF NEWCOURT
                                       YORK
             SOUTHERN DISTRICT


                UNITED STATES OF AMERICA

                                v .

                   ADAM JUSTIN BANFILL,

                                             Defendant .


                          INDICTMENT

                             21 Cr.

                    C §§ 875 ( C ) , 2 2 6 lA ( 2 ) (A) '
                   26
          ( 18 U. S 2 lA ( 2) ( B) , and 2 . )



                      AUDREY STRAUSS
                    . d States Attorney
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